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                                            UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                   AUSTIN DIVISION

              CESIUMASTRO, INC.,                                  §
                                                                  §
                               Plaintiff,                         §
                                                                  §
              v.                                                  § CASE NO. 1:24-CV-314
                                                                  §
              ERIK LUTHER and ANYSIGNAL, INC.,                    §
                                                                  §
                               Defendants.                        §


            DEFENDANT ERIK LUTHER’S VERIFIED ANSWER TO PLAINTIFF’S COMPLAINT


                     Defendant Erik Luther, by and through counsel, and files this Verified Answer to Plaintiff’s

            Complaint and Jury Demand (Doc. 1). As shown below, this lawsuit is frivolous; unsupported by,

            and in many instances contrary to, the facts, the law and/or the evidence, most of which is already

            available to Plaintiff; and brought in bad faith for the purpose of further harassing Defendant and

            causing him unnecessary legal expenses in flagrant violation of Texas Rule of Civil Procedure 11

            (“Rule 11”). As such, Plaintiff is not entitled to any of the relief it seeks. Although not required,

            Defendant has verified his Answer to further buttress his responses and lay bare Plaintiff’s

            wrongdoing.

                                              I.      DEFENDANT’S ANSWER

                                                       INTRODUCTION

                     1.      Defendant admits that he was the Vice President of Product at CesiumAstro. The

            remaining allegations in paragraph 1 are false, unsupported by any legitimate evidence, and

            brought in bad faith for the purpose of further harassing Defendant and causing him unnecessary

            legal expenses in flagrant violation of Rule 11 and are, therefore, denied.

                     2.      Defendant admits that he was the Vice President of Product at CesiumAstro and


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            had access to confidential information during his employment. Defendant denies the remaining

            allegations in paragraph 2.

                      3.      The allegations in paragraph 3 are knowingly false, unsupported by evidence

            already in Plaintiff’s possession, and brought in bad faith for the purpose of further harassing

            Defendant and causing him unnecessary legal expenses in flagrant violation of Rule 11 and are,

            therefore, denied.

                      4.      The allegations in the first and third sentences of paragraph 4 are not only false,

            unsupported by any evidence and brought in bad faith in violation of Rule 11, but invented out of

            whole cloth and are, therefore, denied. Defendant lacks knowledge or information sufficient to

            form a belief as to the truth of the allegations in the second sentence of paragraph 4. Defendant

            denies the remaining allegations in paragraph 4.

                      5.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 5 related to AnySignal’s investors, products, or business operations.

            The remaining allegations in paragraph 5 are not only false, unsupported by any evidence and

            brought in bad faith in violation of Rule 11, but invented out of whole cloth and are, therefore,

            denied.

                      6.      Defendant denies any liability whatsoever for any of Plaintiff’s causes of action.

            This lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to

            Plaintiff, and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                                                             PARTIES

                      7.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 7.



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                     8.      Defendant admits the allegations in paragraph 8.

                     9.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 9.

                                                VENUE AND JURISDICTION

                     10.     Defendant admits that the Court has subject-matter jurisdiction over Plaintiff’s

            cause of action under the Defend Trade Secrets Act, but denies that the Court should exercise

            supplemental jurisdiction over Plaintiff’s remaining claims.

                     11.     Defendant admits that the Court has personal jurisdiction over Defendant and that,

            to the extent the Court has jurisdiction, venue is proper in the Western District of Texas. To the

            extent necessary, Defendant denies the remaining allegations in paragraph 11.

                     12.     The allegations in the first sentence of paragraph 12 state legal conclusions as to an

            unrelated co-defendant but, to the extent necessary, Defendant denies them. The remaining

            allegations in paragraph 12 are not only false, unsupported by any evidence and brought in bad

            faith in violation of Rule 11, but invented out of whole cloth and are, therefore, denied.

                                                 FACTUAL BACKGROUND

                     13.     Defendant denies the allegation in paragraph 13 that Plaintiff is an industry leader.

            Defendant admits the remaining allegations in paragraph 13.

                     14.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 14 and therefore denies them.

                     15.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 15 and therefore denies them.

                     16.     Many of the allegations in paragraph 16, including whether certain information or

            documents constitute protected intellectual property, confidential information or trade secrets, are



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            legal conclusions for which no response is required but, to the extent necessary, Defendant denies

            them. Defendant denies the remaining allegations in paragraph 16.

                     17.     Many of the allegations in paragraph 17, including whether certain information or

            documents constitute protected intellectual property, confidential information or trade secrets, are

            legal conclusions for which no response is required but, to the extent necessary, Defendant denies

            them. Defendant denies the remaining allegations in paragraph 17.

                     18.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 18 and therefore denies them.

                     19.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 19 and therefore denies them.

                     20.     Defendant denies the allegations in paragraph 20.

                     21.     Defendant admits the allegations in paragraph 21.

                     22.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 22 and therefore denies them.

                     23.     Defendant admits he signed the PIIA in December 2020, but notes that the PIIA is

            not attached as an exhibit to the Complaint as alleged. Defendant denies the remaining allegations

            in paragraph 23.

                     24.     Defendant admits that most of the language quoted by Plaintiff in paragraph 24 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 24.

                     25.     Defendant admits that most of the language quoted by Plaintiff in paragraph 25 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 25.



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                     26.     Defendant admits that most of the language quoted by Plaintiff in paragraph 26 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 26.

                     27.     Defendant admits that most of the language quoted by Plaintiff in paragraph 27 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 27.

                     28.     Defendant admits that most of the language quoted by Plaintiff in paragraph 28 that

            is attributed to the PIIA is from the PIIA, but notes that the PIIA is not attached as an exhibit to

            the Complaint as alleged. Defendant lacks knowledge or information sufficient to form a belief as

            to the truth of the allegations in paragraph 28 related to the Employee Handbook and therefore

            denies them. Defendant denies the remaining allegations in paragraph 28.

                     29.     Defendant admits that most of the language quoted by Plaintiff in paragraph 29 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 29.

                     30.     Defendant admits that most of the language quoted by Plaintiff in paragraph 30 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 30.

                     31.     Defendant admits that most of the language quoted by Plaintiff in paragraph 31 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 31.

                     32.     Defendant admits that most of the language quoted by Plaintiff in paragraph 32 is

            from the PIIA, but notes that the PIIA is not attached as an exhibit to the Complaint as alleged.

            Defendant denies the remaining allegations in paragraph 32.



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                     33.     Defendant denies the allegations in paragraph 33.

                     34.     Defendant admits that his initial title at Plaintiff was Director of Business

            Development, Commercial Programs; that he was eventually given the title Vice President of

            Product; and that he had access to some of Plaintiff’s confidential information and trade secrets

            during his employment. Defendant denies the remaining allegations in paragraph 34.

                     35.     Defendant admits that he has known John Malsbury and other individuals who now

            work at AnySignal since before Defendant worked at Plaintiff or AnySignal was formed; and that,

            prior to beginning his employment at Plaintiff, Defendant disclosed (and Plaintiff approved) his

            advisory role with Qoherent. Defendant denies the remaining allegations in paragraph 35.

                     36.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 36 and therefore denies them.

                     37.     Defendant admits that he had access to some of Plaintiff’s confidential information

            and trade secrets during his employment. Defendant denies the remaining allegations in paragraph

            37.

                     38.     Defendant admits that he had access to some of Plaintiff’s confidential information

            and trade secrets during his employment. Defendant denies the remaining allegations in paragraph

            38.

                     39.     The allegations in paragraph 39 are knowingly false, unsupported by evidence

            already in Plaintiff’s possession, and brought in bad faith for the purpose of further harassing

            Defendant and causing him unnecessary legal expenses in flagrant violation of Rule 11 and are,

            therefore, denied.

                     40.     Defendant admits the allegations in the first, second, and third sentences of

            paragraph 40. Defendant also admits that at the time of his resignation he stated a desire to join a



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            smaller company following his employment at Plaintiff, but denies that he was referring to

            AnySignal. Defendant denies the remaining allegations in paragraph 40.

                     41.     Defendant admits that he accessed files on August 18, 2023, but denies that he did

            so for any purpose other than to properly carry out his employment duties and responsibilities and

            complete tasks to assist Plaintiff’s business. Defendant denies the remaining allegations in

            paragraph 41.

                     42.     Defendant admits that he resigned his position at Plaintiff on August 21, 2023; that

            he requested a modification of the non-competition covenant in the PIIA; and that Plaintiff denied

            his request. Defendant denies the remaining allegations in paragraph 42.

                     43.     Defendant admits that August 21, 2023, was his last day of employment at Plaintiff

            even though he requested an end date of September 1, 2023; that he requested a modification of

            the non-competition covenant in the PIIA; and that Plaintiff denied his request. Defendant denies

            the remaining allegations in paragraph 43.

                     44.     Defendant admits that he inadvertently left his company laptop at home on August

            21, 2023; and that he immediately made several trips to his home to retrieve the laptop and other

            items as quickly as possible. The remaining allegations in paragraph 44 are not only false,

            unsupported by any evidence and brought in bad faith in violation of Rule 11, but invented out of

            whole cloth and are, therefore, denied.

                     45.     Defendant admits that he reset his company iPad before returning it, but denies that

            he did so for any purpose other than to ensure his AppleID was disconnected and protect his

            personal information. The remaining allegations in paragraph 45 are not only false, unsupported

            by any evidence and brought in bad faith in violation of Rule 11, but invented out of whole cloth

            and are, therefore, denied.



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                      46.    Defendant admits that he accessed files on August 21, 2023, but denies that he did

            so for any purpose other than to properly carry out his employment duties and responsibilities,

            including to complete tasks and help his team with the transition. Defendant denies the remaining

            allegations in paragraph 46.

                      47.    Defendant denies the allegations in paragraph 47, including that he has violated the

            “Termination Certificate” in any way. Defendant further notes that the “Termination Certificate”

            is not attached as an exhibit to the Complaint as alleged.

                      48.    The allegations in paragraph 48 are not only false, unsupported by any evidence

            and brought in bad faith in violation of Rule 11, but invented out of whole cloth and are, therefore,

            denied.

                      49.    Defendant denies the allegations in paragraph 49. Moreover, to the extent

            Defendant used his personal email account for work purposes, he did so solely to assist in carrying

            out his employment duties and responsibilities for Plaintiff with Plaintiff’s explicit or tacit

            knowledge and approval.

                      50.    Defendant denies the allegations in paragraph 50. To the extent Defendant used his

            personal email account for work purposes, he did so solely to assist in carrying out his employment

            duties and responsibilities for Plaintiff with Plaintiff’s explicit or tacit knowledge and approval.

                      51.    Defendant denies the allegations in paragraph 51 because they are not only false,

            unsupported by any evidence and brought in bad faith in violation of Rule 11. Moreover, to the

            extent Defendant used his personal email account for work purposes, he did so solely to assist in

            carrying out his employment duties and responsibilities for Plaintiff with Plaintiff’s explicit or tacit

            knowledge and approval.

                      52.    Defendant denies the allegations in paragraph 52. To the extent Defendant used his



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            personal email account for work purposes, he did so solely to assist in carrying out his employment

            duties and responsibilities for Plaintiff with Plaintiff’s explicit or tacit knowledge and approval.

                     53.     Defendant admits that he had access to some of Plaintiff’s confidential information

            and trade secrets during his employment, but denies that he communicated any such information

            to AnySignal. Plaintiff’s allegations to the contrary are not only false, unsupported by any evidence

            and brought in bad faith in violation of Rule 11, but invented out of whole cloth and are, therefore,

            denied. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

            allegations in paragraph 53 related to AnySignal and therefore denies them. Defendant denies all

            remaining allegations.

                     54.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 54 and therefore denies them.

                     55.     Defendant admits that he had access to some of Plaintiff’s confidential information

            and trade secrets during his employment, but denies that he communicated any such information

            to AnySignal. Plaintiff’s allegations to the contrary are not only false, unsupported by any evidence

            and brought in bad faith in violation of Rule 11, but invented out of whole cloth and are, therefore,

            denied. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

            allegations in paragraph 55 related to AnySignal and therefore denies them. Defendant denies all

            remaining allegations.

                     56.     Defendant lacks knowledge or information sufficient to form a belief as to the truth

            of the allegations in paragraph 56 and therefore denies them.

                     57.     Defendant admits that he had access to some of Plaintiff’s confidential information

            and trade secrets during his employment, but denies that he communicated any such information

            to AnySignal. Plaintiff’s allegations to the contrary are not only false, unsupported by any evidence



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            and brought in bad faith in violation of Rule 11, but invented out of whole cloth and are, therefore,

            denied. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

            allegations in paragraph 57 related to AnySignal and therefore denies them. Defendant denies all

            remaining allegations.

                     58.     The allegations in paragraph 58 are knowingly false, contrary to the evidence

            already in Plaintiff’s possession, and brought in bad faith for the purpose of further harassing

            Defendant and causing him unnecessary legal expenses in flagrant violation of Rule 11 and are,

            therefore, denied.

                     59.     Defendant admits the allegations in the first sentence of paragraph 59. Defendant

            denies the allegations in the second sentence of paragraph 59. The allegations in the third sentence

            of paragraph 59 are knowingly false, contrary to the evidence already in Plaintiff’s possession, and

            brought in bad faith for the purpose of further harassing Defendant and causing him unnecessary

            legal expenses in flagrant violation of Rule 11 and are, therefore, denied.

                     60.     Defendant admits that he sent Plaintiff a letter on September 5, 2023, but denies all

            remaining allegations in paragraph 60.

                     61.     Plaintiff’s allegations in paragraph 61 knowingly and deliberately misstate the

            communications between Plaintiff and Defendant in flagrant violation of Rule 11. These

            allegations are, therefore, denied.

                     62.     Plaintiff’s allegations in paragraph 62 knowingly and deliberately misstate the

            communications between Plaintiff and Defendant in flagrant violation of Rule 11. These

            allegations are, therefore, denied.

                     63.     Plaintiff’s allegations in paragraph 63 knowingly and deliberately misstate the

            communications between Plaintiff and Defendant and the parties’ agreed forensic protocol in



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            flagrant violation of Rule 11. These allegations are, therefore, denied.

                     64.     Plaintiff’s allegations in paragraph 64 knowingly and deliberately misstate the

            communications between Plaintiff and Defendant and are contrary to the evidence already in

            Plaintiff’s possession in flagrant violation of Rule 11. These allegations are, therefore, denied.

                     65.     Plaintiff’s allegations in paragraph 65 knowingly and deliberately misstate the

            communications between Plaintiff and Defendant and are contrary to the evidence already in

            Plaintiff’s possession in flagrant violation of Rule 11. These allegations are, therefore, denied.

                                                       CAUSES OF ACTION

                                                   FIRST CAUSE OF ACTION

                    Misappropriation Under and Violation of Defend Trade Secrets Act (“DTSA”) 18
                                       U.S.C. § 1836 Against Both Defendants

                     66.     Defendant incorporates by reference each and every answer set forth herein.

                     67.     Defendant denies any liability whatsoever for Plaintiff’s causes of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     68.     Defendant denies any liability whatsoever for Plaintiff’s causes of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     69.     Defendant denies any liability whatsoever for Plaintiff’s causes of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.


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                     70.     Defendant denies any liability whatsoever for Plaintiff’s causes of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     71.     Defendant denies any liability whatsoever for Plaintiff’s causes of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     72.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     73.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     74.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     75.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him



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            unnecessary legal expenses in flagrant violation of Rule 11.

                     76.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                                                SECOND CAUSE OF ACTION

              Misappropriation Under and Violation of the Texas Uniform Trade Secrets Act Tex. Civ.

                                   Prac. & Rem. Code § 134A Against Both Defendants

                     77.     Defendant incorporates by reference each and every answer set forth herein.

                     78.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     79.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     80.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     81.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,



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            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     82.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     83.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     84.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     85.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     86.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     87.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This



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            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                                                 THIRD CAUSE OF ACTION

                                          Breach of Contract (PIIA) Against Luther

                     88.     Defendant incorporates by reference each and every answer set forth herein.

                     89.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     90.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     91.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     92.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     93.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This



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            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     94.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     95.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     96.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     97.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     98.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.



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                     99.     Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     100.    Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                                               FOURTH CAUSE OF ACTION

                            Breach of Fiduciary Duty and Duty of Loyalty [sic] Against Luther

                     101.    Defendant incorporates by reference each and every answer set forth herein.

                     102.    Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     103.    Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     104.    Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.



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                     105.    Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                     106.    Defendant denies any liability whatsoever for Plaintiff’s cause of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11.

                                                 FIFTH CAUSE OF ACTION

                             Tortious Interference with Contract (PIIA) Against AnySignal

                     107.    Defendant incorporates by reference each and every answer set forth herein.

                     108.    The allegations in this paragraph state claims and legal conclusions against an

            unrelated co-defendant but, to the extent necessary, Defendant denies them.

                     109.    The allegations in this paragraph state claims and legal conclusions against an

            unrelated co-defendant but, to the extent necessary, Defendant denies them.

                     110.    The allegations in this paragraph state claims and legal conclusions against an

            unrelated co-defendant but, to the extent necessary, Defendant denies them.

                     111.    The allegations in this paragraph state claims and legal conclusions against an

            unrelated co-defendant but, to the extent necessary, Defendant denies them.

                     112.    The allegations in this paragraph state claims and legal conclusions against an

            unrelated co-defendant but, to the extent necessary, Defendant denies them.

                     113.    The allegations in this paragraph state claims and legal conclusions against an

            unrelated co-defendant but, to the extent necessary, Defendant denies them.



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                                                DEMAND FOR JURY TRIAL

                     114.     As stated above, because this lawsuit is frivolous, unsupported by the facts, the law

            and/or the evidence available to Plaintiff, and brought in bad faith for the purpose of further

            harassing Defendant and causing him unnecessary legal expenses in flagrant violation of Rule 11,

            there are no issues triable to a jury.

                                                      PRAYER FOR RELIEF

                     Defendant denies any liability whatsoever for Plaintiff’s claims and causes of action. This

            lawsuit is frivolous, unsupported by the facts, the law and/or the evidence available to Plaintiff,

            and brought in bad faith for the purpose of further harassing Defendant and causing him

            unnecessary legal expenses in flagrant violation of Rule 11. As such, Plaintiff is not entitled to any

            of the relief it seeks.

                                                    II.      GENERAL DENIAL

                     Defendant denies all allegations and inferences of the Complaint not expressly admitted in

            this Answer, denies acting unlawfully with respect to Plaintiff, and denies causing recoverable

            damages to Plaintiff, as alleged in the Complaint or at all.

                                             III.         AFFIRMATIVE DEFENSES

                     For the following defenses, including affirmative defenses, Defendant incorporates by

            reference each and every answer set forth herein.

                     1.       Plaintiff’s claims should be dismissed in their entirety because Plaintiff’s fails to

            state a claim upon which relief may be granted.

                     2.       Plaintiff’s claims are barred, in whole or in part because, at all relevant times,

            Defendant has acted in good faith.

                     3.       Plaintiff’s claims are barred, in whole or in part, because Plaintiff did not sustain



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            any injuries or damages as a result of any acts or omissions by Defendant.

                     4.       Plaintiff’s claims are barred, in whole or in part, by its failure to mitigate or

            minimize the alleged damages.

                     5.       Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

                     6.       Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver,

            estoppel, and/or laches.

                     7.       Plaintiff’s claims are barred to the extent the confidential and/or proprietary

            business information that Plaintiff claims Defendant misappropriated does not qualify as trade

            secrets under the Defend Trade Secrets Act, the Texas Uniform Trade Secrets Act, or common

            law.

                     8.       Plaintiff’s claims are barred, in whole or in part, because Defendant’s alleged acts

            or omissions were legally privileged and/or justified.

                     9.       Plaintiff is not entitled to injunctive relief because more reasonable actions that are

            less prejudicial and harmful to Defendant would adequately protect any legitimate business

            interests of Plaintiff regarding the use or disclosure of any confidential information or trade secrets.

            Such actions include without limitation Plaintiff reversing its bad faith decision to withdraw from

            the forensic analysis and remediation process that Plaintiff and Defendant agreed to through the

            agreed forensic protocol.

                     10.      Plaintiff is not entitled to injunctive relief because Plaintiff has not identified any

            confidential information or trade secrets in Defendant’s possession that Defendant has not already

            produced as part of the forensic analysis and remediation process that Plaintiff and Defendant

            agreed to through the agreed forensic protocol.

                     11.      Plaintiff is not entitled to injunctive relief because Plaintiff cannot satisfy the



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            standards for injunctive relief, including: because Plaintiff has no likelihood of success on the

            merits of its claims against Defendant; without conceding any wrongdoing, Plaintiff has an

            adequate remedy at law; without conceding any wrongdoing, Plaintiff has not suffered irreparable

            harm; without conceding any wrongdoing, the harm to Defendant if he is enjoined far outweighs

            any purported harm to Plaintiff; and any injunction against Defendant would be contrary to the

            public interest and only encourage Plaintiff and its counsel to continue violating Rule 11.

                     12.     Plaintiff is not entitled to injunctive relief because Plaintiff failed to use reasonable

            efforts to protect its confidential information or trade secrets, including without limitation by

            explicitly allowing employees to use their personal mobile devices for work purposes.

            CesiumAstro also explicitly or tacitly allowed Defendant to use his personal email account to assist

            in carrying out his employment duties and responsibilities for Plaintiff.

                     13.     Plaintiff’s common law claim for attorneys’ fees fails because the Covenants Not

            to Compete Act provides that, in contract actions involving covenants not to compete, the remedies

            in Texas Business & Commerce Code § 15.51 are exclusive and preempt any other remedies,

            including the award of attorneys’ fees. See, e.g., Tex. Bus. & Com. Code § 15.52(a); Franlink, Inc.

            v. GJMS Unlimited, Inc., 401 S.W.3d 705, 708-09 (Tex. App.—Houston [14th Dist.] 2003, pet.

            denied); Glattly v. Air Starter Components, Inc., 332 S.W.3d 620, 645 (Tex. App.—Houston [1st

            Dist.] 2010, pet. denied); Perez v. Texas Disposal Sys., 103 S.W.3d 591, 593-94 (Tex. App.—San

            Antonio 2003, pet. denied).

                     Defendant specifically reserves the right to assert additional defenses, claims,

            counterclaims, cross-claims, and/or causes of action that may become appropriate based upon

            investigation or other discovery that may occur during the course of the litigation.




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                                                 IV.         ATTORNEYS’ FEES

                     1.       Defendant seeks recovery of his reasonable attorneys’ fees and costs against

            Plaintiff pursuant to the Defend Trade Secrets Act (DTSA)—18 U.S.C. § 1836(b)(3)(D)—and the

            Texas Uniform Trade Secrets Act (TUTSA)—Tex. Civ. Prac. & Rem. Code § 134A.005—because

            Plaintiff has brought its DTSA and/or TUTSA claims against Defendant in bad faith.

                     2.       Defendant seeks recovery of his reasonable attorneys’ fees and costs against

            Plaintiff pursuant to Tex. Bus. and Comm. Code § 15.51(c). Defendant will show that the primary

            purpose of the PIIA (allegedly attached to Plaintiff’s Complaint as Exhibit A), which is the basis

            of some of Plaintiff’s allegations, was to obligate Defendant to render personal services; Plaintiff

            knew at the time of the execution of the PIIA that the non-competition restrictive covenants therein

            did not contain limitations as to time, geographical area, and scope of activity to be restrained that

            were reasonable and the limitations imposed a greater restraint than necessary to protect Plaintiff’s

            goodwill or other business interest; and Plaintiff is seeking to enforce the non-competition

            restrictive covenants to a greater extent than is necessary to protect Plaintiff’s goodwill or other

            business interest based on the facts and evidence.

                                                V.      PRAYER FOR RELIEF

                     Defendant requests the following relief:

                     1.       That Plaintiff the Complaint be dismissed with prejudice or judgment be entered

            against Plaintiff in favor of Defendant with Plaintiff taking nothing by reason of its claims;

                     2.       That the Court award Defendant monetary sanctions against Plaintiff and Plaintiff’s

            counsel for violating Rule 11;

                     3.       That the Court award Defendant his reasonable attorneys’ fees and costs, along with

            post-judgment interest at the maximum rate permitted by law; and



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                     4.       That Defendant be awarded other and further relief, at law or in equity, to which he

            is justly entitled.


                                                             Respectfully submitted,

                                                             /s/ Collin K. Brodrick
                                                             Collin K. Brodrick
                                                             TX State Bar No. 24087212
                                                             OGLETREE, DEAKINS, NASH,
                                                                     SMOAK & STEWART, P.C.
                                                             collin.brodrick@ogletree.com
                                                             8117 Preston Road, Suite 500
                                                             Dallas, TX 75225
                                                             214-692-0168 (phone)
                                                             214-987-3927 (fax)

                                                CERTIFICATE OF SERVICE

                   I hereby certify that on March 29, 2024, a true and correct copy of the foregoing document
            was served via the Court’s ECF system on the following:

                     David S. Almeling
                     dalmeling@omm.com
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                     Two Embarcadero Center
                     28th Floor
                     San Francisco, California 94111

                     Kristin C. Cope
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                     2801 North Harwood Street, Suite 1600
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                                                             /s/ Collin K. Brodrick
                                                             Collin K. Brodrick




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                                                          VERIFICATION

                     My name is Erik Luther. I have read section “I. Defendant’s Answer” of the foregoing

            Verified Answer and declare under penalty of perjury under the laws of the United States of

            America that the information contained in that section is true and correct.
                           3/29/2024
            Executed on                               .



                                                             ERIK LUTHER




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